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                          IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  HATTIESBURG DIVISION

Billy Parker and Carolyn Parker,

            Plaintiffs,
                                                   Civil Action No.: 2:15CV59-KS-MTP
   v.

Comenity LLC d/b/a Comenity Bank,

            Defendant.


                                   NOTICE OF SETTLEMENT

        NOW COMES the Plaintiffs, Billy Parker and Carolyn Parker, by and through the

undersigned counsel and hereby informs the court that a settlement of the present matter has been

reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 60 days.

        Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.


Date: August 7, 2015                          RESPECTFULLY SUBMITTED,
                                              By: /s/ Shireen Hormozdi
                                              Shireen Hormozdi
                                              Krohn & Moss, Ltd
                                              10474 Santa Monica Blvd. Suite 405
                                              Los Angeles, CA 90025
                                              Tel: (323) 988-2400 x 267/Fax: (866) 861-1390
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                                              Mississippi Bar No. 103799
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                                    NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2015, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System


                                                             /s/ Shireen Hormozdi
                                                             Shireen Hormozdi
                                                             Attorney for Plaintiff




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                                  NOTICE OF SETTLEMENT
